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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

EDDIE L. BOLDEN,                                  )
                                                  )
                     Plaintiff,                   )
                                                  )      Case No. 17 CV 417
                     v.                           )
                                                  )      Honorable Steven Seeger
CITY OF CHICAGO, et al.,                          )
                                                  )
                     Defendants.                  )

                                   NOTICE OF FILING

      Please take notice that on October 25, 2021, I caused to be filed with the Clerk of the
United States District Court for the Northern District of Illinois, Eastern Division, FBI
DOCUMENTS CONTAINED IN DEFENDANTS’ EXHIBIT 85 THAT DEFENDANTS
SEEK TO ADMIT INTO EVIDENCE.

                                                  Respectfully submitted,


                                                  /s/ William E. Bazarek                  t
                                                  Special Assistant Corporation Counsel
                                                  One of the Attorneys for Defendant Officers


Andrew M. Hale
Barrett Boudreaux
William E. Bazarek
Amy A. Hijjawi
Brian J. Stefanich
Hale & Monico, LLC
53 W. Jackson, Suite 337
Chicago, IL 60604
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